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                         UNITED STATES DISTRICT COURT FOR
                        THE WESTERN DISTRICT OF NEW YORK

  LACKAWANNA CHIROPRACTIC P.C., a                    Case No. 1:18-cv-00649-LJV
  New York professional corporation,
  individually and on behalf of all others
  similarly situated,
                                                     CLASS ACTION
                      Plaintiff,

                          v.

  TIVITY HEALTH SUPPORT, LLC, a
  Delaware limited liability company,

                     Defendant.

                   PLAINTIFF’S NOTICE OF MOTION
  FOR PRELIMINARY APPROVAL OF MODIFIED CLASS ACTION SETTLEMENT

       Plaintiff Lackawanna Chiropractic P.C., on behalf of itself and a settlement class of

similarly situated persons, respectfully provides notice of motion and moves for entry of an order

granting preliminary approval of the modified class action settlement set forth in the Parties’

Settlement Agreement (“Settlement Agreement” or “Agreement”), certifying a class for settlement

purposes, and providing for issuance of Notice to the Settlement Class. If approved, the Settlement

will bring an end to what has otherwise been, and likely would continue to be, contentious litigation

centered on unsettled legal questions.

       The motion and memorandum of law seek the entry of an order providing for:

       1. Preliminary approval of the Settlement;

       2. Provisional certification of the Settlement Class pursuant to Federal Rule of Civil

           Procedure 23(b)(3) and (e) for settlement purposes only and appointment of the

           Plaintiff as Class Representative and Plaintiff’s counsel as Class Counsel;

       3. Approval of the Settlement Administrator;



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      4. Approval of the form and content of the Notice program describing:

             a. The Settlement and the Settlement Class members’ rights with respect to the

                 Settlement;

             b. The proposed Release of claims;

             c. Class Counsel’s request for attorneys’ fees and expenses, and a Service Award

                 for the Class Representative; and

             d. The procedure for opting-out of or objecting to the Settlement.

      5. Approval of the Claims process;

      6. Re-opening and staying the Action pending Final Approval of the Settlement; and

      7. Scheduling of a Final Approval Hearing to consider Final Approval of the Settlement.



                                           Respectfully submitted,

Dated: March 6, 2020                       /s/ Stefan Coleman
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                                           Attorneys for Plaintiff and the Settlement Class




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 6, 2020, I electronically filed the foregoing document

with the Clerk of the Court using CM/ECF, which is being served this day on all counsel of record

via transmission of Notice of Electronic Filing generated by CM/ECF.

                                                    /s/ Stefan Coleman




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